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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
§
OMAR MARTINEZ, §
§
Plaintiff, §
v. § EP-18-CV-00316-DCG
§
THE CBE GROUP, INC., §
§
Defendant. §

ORDER REQUIRING PARTIES TO
FILE A PROPOSED SCHEDULING ORDER AND A JOINT REPORT

IT IS HEREBY ORDERED THAT all parties shall confer, as required by Federal Rule
of Civil Procedure 26(f) and Local Court Rule CV-l6(c), and tile a Joint Report outlining their
discovery planl and a proposed scheduling orde12 for the Court’s consideration by February 8,
2019. In the Joint Report, the parties must additionally indicate:

1. Whether any party has demanded or demands a trial by jury;3

2. Whether or not the parties consent to have a United States magistrate judge conduct

any and all further proceedings in the case, including trial, order the entry of a final

judgment, and conduct all post-judgment proceedings;4 and

 

1 Federal Rule of Civil Procedure 26(f) also requires the parties to submit to the Court a written
report outlining their discovery plan within 14 days of the conference

2 Local Court Rule CV-l6(c) states that the parties shall confer and “the parties shall submit a
proposed scheduling order to the Court in the form [set out in Appendix B]” of the Local Rules.

3 See Fed. R. Civ. P. 38, 39(b), 81(¢)(3).

4 Pursuant to 28 U.S.C. § 636(c)(l), all full-time Magistrate Judges are authorized and
empowered to try any civil case, jury or non-jury, with the consent of all parties to the law suit. Because
of the crowded condition of the criminal docket in this Division and the difficulty in reaching civil cases
for trial, you may wish to consent to trial by a United States Magistrate Judge.

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3. In the event the plaintiff has not yet obtained service on all defendants, a statement by
the plaintiff explaining why all parties have not been served.

So ORDERED and SIGNED this q`(` day of January 2019.

ljw./ L%M/b»/

DAvIlq C. GUA‘oERRAMA
UNITED sTATEs DISTRICT JUDGE

 

If a party wishes to consent to trial before a Magistrate Judge, it must notify the Court by
traditionally filing the notice of consent as soon as possible. The consent to trial by a Magistrate Judge
must be voluntary, and the party is free to withhold consent without suffering adverse consequences If
all parties consent to trial of this case by a Magistrate Judge, the Court will enter an order transferring the
case to a Magistrate Judge for trial and for entry of judgment If the case has already been referred to a
Magistrate Judge for pretrial matters and the parties consent to trial by a Magistrate Judge, the trial will be
before the Magistrate Judge already assigned to the case.

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